Case 1:19-cv-01471-ABJ Document 1-12 Filed 05/20/19 Page 1 of 6




                        EXHIBIT 7
                  Case 1:19-cv-01471-ABJ Document 1-12 Filed 05/20/19 Page 2 of 6




From:                               Forshee, Kay <Kay.Forshee@mallinckrodt.com>
Sent:                               Friday, April 14, 2017 2:06 PM
To:                                 CMS MDROperations
Cc:                                 Landolt, Jamie; Matasi, Twayler; 'CMS MDROperations'
Subject:                            RE: MDR 04 RE: Acthar gel final.doc



Proprietary and Confidential—Not to Be Released under FOIA or Otherwise

Thank you for your email on March 20, 2017.

We appreciate CMS’ confirmation that “the new indication for Acthar was approved under NDA 022432.” We see this as
significant, because it confirms the basis CMS gave in its August 6, 2012 communication to Questcor that explicitly
approved the appropriateness of a new base date AMP. CMS concluded there that “[w]e have reviewed your request
and agree that Acthar Gel is eligible for a new base date AMP.” Mallinckrodt, which purchased Acthar from Questcor in
August 2014, has relied upon that agency determination.

We believe the agency’s conclusion was correct in 2012 and remains correct now. NDA 022432 represented a very
significant set of events. Acthar’s label, indications, and approval for marketing underwent a fundamental revision,
including all of the following changes under that NDA:

    •   Addition of the infantile spasms indication;
    •   Removal of more than 30 indications that previously were approved for marketing;
    •   Revised “Dosage and Administration” section;
    •   New and separate section on pediatric indications;
    •   New FDA requirement for a “Medication Guide” relating to the new infantile spasms indication;
    •   New, indication-specific Risk Evaluation and Mitigation Strategy (REMS) for the new infantile spasms indication;
    •   Addition of the route of administration for Acthar; and
    •   Addition of the “Mechanism of Action” section.

Your email dated March 20, 2017 also indicates that FDA has reportedly suggested to CMS that NDA 022432 was a
“type-6 NDA”. As an initial matter, we do not see any significance in this observation, even if correct. The plain language
of the Medicaid drug rebate statute speaks directly to the importance of an approval of an NDA; it is irrelevant under
the statute whether an NDA was a "type 6".

We will continue to review your email, however, and we may have some additional thoughts to share with you as part of
this ongoing dialogue. Thank you for your engagement with us on this important issue.

Best regards,

Kay Forshée | Sr. Manager, Government Reporting
Mallinckrodt Pharmaceuticals
325 McDonnell Blvd. | Hazelwood, MO 63042 | USA
T: 314.654.6592 / M: 314.780-1630
kay.forshee@mallinckrodt.com l www.mallinckrodt.com

This information may be confidential and/or privileged. Use of this information by anyone other than the intended
recipient is prohibited. If you receive this in error, please inform the sender and remove any record of this message.



                                                             1
           Case 1:19-cv-01471-ABJ Document 1-12 Filed 05/20/19 Page 3 of 6

From: CMS MDROperations [mailto:MDROperations@cms.hhs.gov]
Sent: Monday, March 20, 2017 5:18 PM
To: Forshee, Kay
Cc: Lough, Mairi; Landolt, Jamie; Lasker, Karen L; CMS MDROperations
Subject: RE: MDR 04 RE: Acthar gel final.doc

Kay,

Thank you for your emails on July 6, 2016 and July 29, 2016. We understand and agree that the new indication
for Acthar was approved under NDA 022432. We also note that the SPL information submitted to FDA by the
manufacturer currently reflects NDA 022432. However FDA has confirmed that NDA 022432, a type-6 NDA, was
created for administrative purposes because an FDA division other than the division responsible for NDA 008372
was reviewing the application for the new indication. FDA has informed us that type-6 NDAs are
administratively closed upon approval. Therefore, it is our understanding that the marketing of the drug has
always been under the auspices of NDA 008372, regardless of the administratively assigned NDA 022432, which
was only for the purpose of FDA approval of the new indication, but not for the approval and marketing of the
drug itself.

The baseline information for a drug that was approved prior to the effective date of section 1927 of the Social
Security Act is established using the data of the drug as of 9/30/1990. It is our understanding that NDA 008372
for Acthar was approved on April 29, 1952, therefore, the baseline data for the drug that is marketed under that
NDA would be based on data from 9/30/1990 as the approval of NDA 022432 in 2010 was not for approval of a
new drug.


Thank you,
CMS MDR Operations


The decision in this response is limited to and based upon the facts described in this email and any attachments provided and
our understanding of the facts as described in the emails and attachments submitted. If a subsequent review by CMS, by the
Office of Inspector General, or another authorized government agency determines or reveals that additional adjustments or
revisions are necessary, the manufacturer is responsible for complying with that determination. This response cannot be
considered an advisory opinion under section 1128D(b) of the Social Security Act, since only the Inspector General of the
U.S. Department of Health and Human Services has been authorized to issue advisory opinions relating to health care fraud
and abuse under that section. This response should not be interpreted as acquiescence by the Government to the
arrangements described herein. Further, this response is not a release of any liability.



NOTICE: The contents of this message and any attachments may be privileged and confidential. If you are not an intended
recipient, or have received this message in error, please delete it without reading it and please do not print, copy, forward,
disseminate, or otherwise use the information. Also, please notify the sender that you have received this communication in error.
Your receipt of this message is not intended to waive any applicable privilege.




From: Forshee, Kay [mailto:Kay.Forshee@mallinckrodt.com]
Sent: Friday, July 29, 2016 8:02 PM
To: CMS MDROperations <MDROperations@cms.hhs.gov>
Cc: Lough, Mairi <Mairi.Lough@mallinckrodt.com>; Landolt, Jamie <Jamie.Landolt@mallinckrodt.com>; Lasker,
Karen L <Karen.Lasker@mallinckrodt.com>
Subject: MDR 04 RE: Acthar gel final.doc
                                                            2
         Case 1:19-cv-01471-ABJ Document 1-12 Filed 05/20/19 Page 4 of 6

Proprietary and Confidential—Not to Be Released, in Whole or in Part, under FOIA or Otherwise

Good evening,

We wanted to briefly follow up on our email below. As we indicated there, we have continued to look into your
correspondence. As part of that effort, we have clarified the pre-existing FDA Online Label Repository listing to
list NDA 022432, consistent with CMS' letter and analysis dated August 6, 2012.

Thank you,

Kay Forshée | Sr. Manager, Government Reporting
Mallinckrodt Pharmaceuticals
325 McDonnell Blvd. | Hazelwood, MO 63042 | USA
T: 314.654.6592
kay.forshee@mallinckrodt.com l www.mallinckrodt.com

This information may be confidential and/or privileged. Use of this information by anyone other than the
intended recipient is prohibited. If you receive this in error, please inform the sender and remove any record of
this message.

        From: Forshee, Kay
        Sent: Wednesday, July 06, 2016 6:12 PM
        To: 'CMS MDROperations'
        Cc: Lough, Mairi; Landolt, Jamie; Lasker, Karen L
        Subject: RE: MDR 04 RE: Acthar gel final.doc

        Proprietary and Confidential—Not to Be Released, in Whole or in Part, under FOIA or Otherwise

        Good Evening,

        Thank you for your email below. As we continue to research the points CMS has raised, we want to
        clarify a point that seems to be the basis for the agency’s request. In your email, you indicate that the
        base date AMP for a “purchased product” should not be altered. We want to note that Mallinckrodt’s
        purchase of Acthar from Questcor in August 2014 was not the basis of CMS’ confirmation to Questcor of
        the appropriateness of a new base date AMP in the agency’s letter to Questcor dated August 6, 2012,
        which was two years before Mallinckrodt’s acquisition of Questcor.

        In the April 13, 2016 letter, CMS also stated that it believed that it was potentially incorrect to have
        listed the product as “ha[ving] NDA 022432 as its FDA application number.” We have gone back and
        confirmed that this was, in fact, the correct FDA assigned application number for the approval of the
        product that was discussed in the CMS letter of August 6, 2012 and that CMS cited in determining that
        “[w]e have reviewed your request and agree that Acthar Gel is eligible for a new based date AMP.”

        However, we continue to look further into your correspondence, and will offer additional thoughts, as
        they may be helpful to you, at a later date when we have completed our work.

        Thank you,

        Kay Forshée | Sr. Manager, Government Reporting
        Mallinckrodt Pharmaceuticals
        325 McDonnell Blvd. | Hazelwood, MO 63042 | USA
        T: 314.654.6592
        kay.forshee@mallinckrodt.com l www.mallinckrodt.com


                                                      3
 Case 1:19-cv-01471-ABJ Document 1-12 Filed 05/20/19 Page 5 of 6
This information may be confidential and/or privileged. Use of this information by anyone other than
the intended recipient is prohibited. If you receive this in error, please inform the sender and remove
any record of this message.

        From: CMS MDROperations [mailto:MDROperations@cms.hhs.gov]
        Sent: Thursday, June 02, 2016 5:33 PM
        To: Forshee, Kay; CMS MDROperations
        Cc: Lough, Mairi; Landolt, Jamie; Lasker, Karen L
        Subject: MDR 04 RE: Acthar gel final.doc

        Kay,

        We are aware of the correspondence between Questcor and CMS that you provided. However,
        as stated in Manufacturer Release #90 at http://www.medicaid.gov/Medicaid-CHIP-Program-
        Information/By-Topics/Benefits/Prescription-Drugs/Downloads/Rx-Releases/MFR-Releases/mfr-
        rel-090.pdf, the baseline data of a purchased product should be the same as the baseline data of
        a product marketed previously under the same NDA. Therefore, we are requesting that you
        complete and return the attached template so that the baseline information for the NDC
        matches the baseline information of the NDC that was originally used for marketing the product
        under the same NDA.


        Thank you,
        CMS MDR Operations


        The decision in this response is limited to and based upon the facts described in this email and any
        attachments provided and our understanding of the facts as described in the emails and attachments
        submitted. If a subsequent review by CMS, by the Office of Inspector General, or another authorized
        government agency determines or reveals that additional adjustments or revisions are necessary, the
        manufacturer is responsible for complying with that determination. This response cannot be considered an
        advisory opinion under section 1128D(b) of the Social Security Act, since only the Inspector General of the
        U.S. Department of Health and Human Services has been authorized to issue advisory opinions relating to
        health care fraud and abuse under that section. This response should not be interpreted as acquiescence
        by the Government to the arrangements described herein. Further, this response is not a release of any
        liability.



        NOTICE: The contents of this message and any attachments may be privileged and confidential. If you are not
        an intended recipient, or have received this message in error, please delete it without reading it and please do not
        print, copy, forward, disseminate, or otherwise use the information. Also, please notify the sender that you have
        received this communication in error. Your receipt of this message is not intended to waive any applicable
        privilege.




        From: Forshee, Kay [mailto:Kay.Forshee@mallinckrodt.com]
        Sent: Tuesday, May 10, 2016 4:26 PM
        To: CMS MDROperations <MDROperations@cms.hhs.gov>
        Cc: Lough, Mairi <Mairi.Lough@mallinckrodt.com>; Landolt, Jamie
        <Jamie.Landolt@mallinckrodt.com>; Lasker, Karen L <Karen.Lasker@mallinckrodt.com>
        Subject: RE: Acthar gel final.doc


                                                   4
Case 1:19-cv-01471-ABJ Document 1-12 Filed 05/20/19 Page 6 of 6
    Good afternoon,

    Attached please find correspondence between Questcor/Mallinckrodt and CMS regarding the
    approved NDC changes and new base AMP for Acthar. Please advise if we are required to make
    any changes to the DDR.

    Please feel free to contact me directly with any questions.

    Thanks,

    Kay Forshée | Sr. Manager, Government Reporting
    Mallinckrodt Pharmaceuticals
    325 McDonnell Blvd. | Hazelwood, MO 63042 | USA
    T: 314.654.6592
    kay.forshee@mallinckrodt.com l www.mallinckrodt.com


              From: CMS MDROperations [mailto:MDROperations@cms.hhs.gov]
              Sent: Wednesday, April 13, 2016 1:44 PM
              To: Forshee, Kay
              Cc: CMS MDROperations
              Subject: Acthar gel final.doc

              Kay,

              Attached, please find an advance copy of a letter that you will be receiving by U.S.
              Mail. Also attached is a template, for your use in requesting the changes referenced in
              the letter.


              Thank you,
              CMS MDR Operations


              The decision in this response is limited to and based upon the facts described in this email and any
              attachments provided and our understanding of the facts as described in the emails and
              attachments submitted. If a subsequent review by CMS, by the Office of Inspector General, or
              another authorized government agency determines or reveals that additional adjustments or
              revisions are necessary, the manufacturer is responsible for complying with that
              determination. This response cannot be considered an advisory opinion under section 1128D(b)
              of the Social Security Act, since only the Inspector General of the U.S. Department of Health and
              Human Services has been authorized to issue advisory opinions relating to health care fraud and
              abuse under that section. This response should not be interpreted as acquiescence by the
              Government to the arrangements described herein. Further, this response is not a release of any
              liability.



              NOTICE: The contents of this message and any attachments may be privileged and confidential. If you
              are not an intended recipient, or have received this message in error, please delete it without reading it
              and please do not print, copy, forward, disseminate, or otherwise use the information. Also, please
              notify the sender that you have received this communication in error. Your receipt of this message is not
              intended to waive any applicable privilege.




                                               5
